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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                        Newport News Division

  UNITED STATES OF AMERICA


  V'                                                            ACTION NO. 4:07cr77
  TRAVIS JEROME WESTRY,

                 Defendant.


                              REPORT AND RECOMMENDATION1
                                CONCERNING PLEA OF aim TV

         The Defendant, by consent, has appeared before me pursuant to Federal Rule of Criminal
 Procedure 11, and referral from a United States District Judge and has entered a plea of guilty to

 Count Three of the indictment. After cautioning and examining the Defendant under oath concerning
 each of the subjects mentioned in Rule 11,1 determined that the guilty plea was knowledgeable and
 voluntary, and that the offense charged is supported by an independent basis in fact establishing each
 of the essential elements of such offense. I therefore recommend that the plea of guilty be accepted
and that the Defendant be adjudged guilty and have sentence imposed accordingly.

        I further certify that a copy of this Report and Recommendation was this day delivered to
counsel for the United States and to counsel for the defendant.

        DONE AND ENTERED at Norfolk, Virginia, this 30th day of July, 2007.



Norfolk, Virginia                               UMTBD ^ATES^IAGISTRATE JUDCT



          Failure to file written objections to this Report and Recommendation within ten (10)
days from the date of its service shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge 28 U S C § 636(b)(l)(B)
